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              EXHIBIT A
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


                                                     )
Sean Trueman,                                        )
                                                     )
                        Plaintiff,                   )
                                                     )
v.                                                   )
                                                         Civil Action No.:
                                                     )
American Coradius International LLC, and             )
USAA Savings Bank,                                   )
                                                     )
                        Defendant.                   )
                                                     )

                                     Index of State Court Documents

     1. Document List

     2. Summons and Complaint

     3. Exhibit – Settlement Agreement

     4. Exhibit – Proof of Payment
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       NYSCEF                            Document List
       Erie County Supreme Court        Index # 803373/2016       Created on:04/20/2016 10:26 AM

Case Caption:   Sean Trueman - v. - American Coradius International LLC et al
Judge Name:
Doc#     Document Type/Information                   Status      Date Received   Filed By
1        SUMMONS + COMPLAINT                         Processed   04/01/2016      Deutsch, L.
         Summons and Complaint
2        EXHIBIT(S)                                  Processed   04/01/2016      Deutsch, L.
         Settlement Agreement
3        EXHIBIT(S)                                  Processed   04/01/2016      Deutsch, L.
         Proof of Payment




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                                                                       Page 4 ofNYSCEF:
                                                                                 15     04/01/2016




             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF ERIE
              Sean Trueman,                                     Index No.
                                       Plaintiff,


                                                                SUMMONS
                        – against–



              American Coradius International LLC, and          The basis of the venue designated is
              USAA Savings Bank,                                Defendant American Coradius
                                                                International LLC’s Principal Place
                                       Defendant(s).            of Business.



             To the above named defendant(s):

                    YOU ARE HEREBY SUMMONED to appear in the Supreme Court of the State
             of New York, County of Erie at the office of the Clerk of said Court at 92 Franklin Street,
             Buffalo, NY 14202 in the County of Erie, State of New York, within the time provided
             by law as noted below and to file your answer to the annexed complaint with the Clerk;
             upon your failure to answer, judgment will be taken against you by default for the relief
             demanded in the Complaint.

             Dated: April 1, 2016
             New York, New York


                                           Reznik Law Firm, PLLC

                                           By: /s/ LeeOr Deutsch
                                           LeeOr Deutsch, Esq.
                                           30 Wall Street, 8th Floor #741
                                           New York, NY 10005
                                           Tel (212) 537-9276
                                           Fax (877) 366-4747
                                           LeeOr@rezniklawfirm.com
                                           Attorneys for Plaintiff


             NOTE: The laws or rules of court provide that:




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(a) if this summons is served by its delivery to you personally, you must appear and
answer within TWENTY days after such service; or

(b) if this summons is served by delivery to any person other than you personally, or is
served by any alternative method permissible under the CPLR, you must appear and
answer within THIRTY days after such service.

Defendants’ Addresses:

American Coradius International LLC
2420 Sweet Home Rd, Suite 150
Amherst, NY 14228

USAA Savings Bank
3773 Howard Hughes Parkway, #190n
Las Vegas, NV 89109




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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF ERIE
 Sean Trueman,

                          Plaintiff,               Index No.


                                                   VERIFIED COMPLAINT
          – against–



 American Coradius International LLC, and
 USAA Savings Bank,

                          Defendant(s).


      Plaintiff SEAN TRUEMAN, by and through his attorneys, Reznik Law Firm,

PLLC, complaining of the Defendants, hereby alleges as follows:

   1. This is an action for damages brought by an individual consumer for Defendants’

       breach of contract, violations of the Fair Debt Collection Practices Act, 15 U.S.C.

       § 1692, et seq. (hereinafter the "FDCPA"), and violations of New York’s General

       Business Law (hereinafter the “NYGBL”). The FDCPA prohibits debt collectors

       from engaging in abusive, deceptive, and unfair collection practices. The NYGBL

       protects consumers from deceptive acts or practices in the conduct of any

       business.

                                           PARTIES

   2. Plaintiff, Sean Trueman, is an adult residing in Boise, ID.

   3. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

   4. Defendant American Coradius International LLC is a business entity regularly

       engaged in the business of collecting debts in this State with its principal place of




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    business located at 2420 Sweet Home Rd, Suite 150, Amherst, NY 14228. The

    principal purpose of Defendant is the collection of debts using the mails and

    telephone, and Defendant regularly attempts to collect debts alleged to be due

    another.

 5. Defendant USAA Savings Bank is a business entity with its principal place of

    business located at 3773 Howard Hughes Parkway, #190n, Las Vegas, NV 89109.

 6. Defendants are "debt collectors" as defined by 15 U.S.C. § 1692a(6) of the

    FDCPA.

                              FACTUAL ALLEGATIONS

 7. Defendants attempted to collect a debt allegedly owed by Plaintiff relating to

    consumer purchases allegedly owed to Defendant USAA Savings Bank

    (“USAA”).

 8. The debt at issue arises out of an alleged transaction which was primarily for

    personal, family or household purposes and falls within the definition of “debt”

    for purposes of 15 U.S.C. § 1692a(5).

 9. On or about October 16, 2015, Plaintiff and American Coradius International

    LLC (“American Coradius”), on behalf of USAA, entered into a settlement

    agreement for Plaintiff’s USAA account ending 7524. A copy of the settlement

    agreement is attached herein as Exhibit A.

 10. Pursuant to the terms of the settlement, Plaintiff was required to make eleven (11)

    payments totaling $4,612.00 to settle and close his USAA account.




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 11. Thus, Defendants acknowledged in writing that they had agreed to a settlement

    with Plaintiff, in consideration of payments which Plaintiff would be required to

    make.

 12. Plaintiff via his debt settlement company, National Debt Relief (“NDR”), timely

    made the first settlement payment.

 13. American Coradius accepted and cashed the first payment, but refused to accept

    any future payments. Proof of this payment is attached herein as Exhibit B.

 14. Thereafter, on November 17, 2015, NDR contacted American Coradius to resolve

    the payment discrepancy; An American Coradius representative named Paul

    Caron stated that the account was recalled by USAA.

 15. A few minutes later NDR contacted USAA. A USAA representative named

    Valerie said that USAA would not honor the previous settlement agreement.

 16. Defendants’ reneging on the settlement agreement with Plaintiff constitutes a

    breach of contract.

 17. American Coradius knew or should have known that its actions violated the

    FDCPA. Additionally, American Coradius could have taken the steps necessary to

    bring its actions within compliance with the FDCPA, but neglected to do so and

    failed to adequately review its actions to ensure compliance with said laws.

 18. At all times pertinent hereto, Defendants were acting by and through their agents,

    servants and/or employees, who were acting within the scope and course of their

    employment, and under the direct supervision and control of the Defendants

    herein.




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 19. At all times pertinent hereto, the conduct of Defendants, as well as that of their

    agents, servants and/or employees, was malicious, intentional, willful, reckless,

    negligent and in wanton disregard for federal law and the rights of the Plaintiff

    herein.

                            FIRST CAUSE OF ACTION
                                (Breach of Contract)

 20. Plaintiff reasserts and incorporates herein by reference all facts and allegations set

    forth above.

 21. Defendants acknowledged that they had agreed to a settlement with Plaintiff, in

    consideration of payments which Plaintiff would be required to make.

 22. Plaintiff made the first requisite payment, in accordance with the agreement.

 23. Defendants accepted and cashed the first timely payment but refused to accept

    any future payments in accordance with the settlement agreement.

 24. Defendants’ reneging on the settlement agreement with Plaintiff constitutes a

    breach of contract.

 25. As a result, Plaintiff has suffered actual and monetary damages.


                           SECOND CAUSE OF ACTION
                          (Fair Debt Collection Practices Act)

 26. Plaintiff reasserts and incorporates herein by reference all facts and allegations set

    forth above.

 27. The above contacts between Defendants and Plaintiff were "communications"

    relating to a "debt" as defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the

    FDCPA.




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 28. FDCPA § 1692f(1) prohibits the use of unfair or unconscionable practices to

    collect a debt, including collection of any amount not authorized by the contract

    or law. FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the

    character, amount or legal status of any debt. FDCPA 15 U.S.C. § 1692e(10)

    prohibits any false, misleading, or deceptive representation or means in

    connection with the collection of a debt. American Coradius violated these

    provisions of the FDCPA by falsely and deceptively inducing Plaintiff to enter

    into a settlement agreement which it did not intend to adhere to and/or intended to

    breach.

 29. As a result of the above violations of the FDCPA, American Coradius is liable to

    Plaintiff for actual damages, statutory damages which can be up to $1,000,

    attorney’s fees and costs.

                        THIRD CAUSE OF ACTION
      (New York General Business Law: Deceptive Business Acts / Practices)

 30. Plaintiff reasserts and incorporates herein by reference all facts and allegations

    set forth above.

 31. NYGBL § 349 makes it unlawful for any person, firm, corporation, or association

    or agent or employee thereof to engage in deceptive acts or practices in the

    conduct of any business, trade, or commerce.

 32. As a financial institution doing business in New York, Defendant USAA is

    subject to the NYGBL.

 33. As a debt collector located and doing business in New York, Defendant American

    Coradius is subject to the NYGBL.




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   34. Defendants violated the NYGBL by refusing to honor Plaintiff’s original

      settlement agreement, and instead, attempting to deceptively recover additional

      monies from Plaintiff.

       35. As a result, Plaintiff has suffered actual damages, attorney fees and costs.

                                    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands that judgment in the sum of $12,000 be entered
against Defendants as follows:

     1) That judgment be entered against Defendants for actual and monetary
         damages accrued by Plaintiff as a result of Defendants’ breach of
         contract;
     2) That judgment be entered against Defendant American Coradius for
         actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
     3) That judgment be entered against Defendant American Coradius for
         statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
     4) That the Court award costs and reasonable attorney's fees pursuant to 15
         U.S.C. § 1692k(a)(3);
     5) That judgment be entered against Defendants for actual damages
         pursuant to NYGBL § 349(h);
     6) That the Court award costs and reasonable attorney's fees pursuant to NYGBL
         § 349(h); and
     7) That the Court grant such other and further relief as may be just and
         proper.
Dated: April 1, 2016
New York, New York
                               Reznik Law Firm, PLLC
                               By: /s/ LeeOr Deutsch
                               LeeOr Deutsch, Esq.
                               30 Wall Street, 8th Floor #741
                               New York, NY 10005
                               Tel (212) 537-9276
                               Fax (877) 366-4747
                               LeeOr@rezniklawfirm.com
                               Attorneys for Plaintiff




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                           VERIFICATION BY ATTORNEY


STATE OF NEW YORK  )
                   ) ss.:
COUNTY OF NEW YORK )


       I, LEEOR DEUTSCH, an attorney duly admitted to practice law in the State of

New York, hereby affirm under penalty of perjury:

       I am an attorney associated with Reznik Law Firm, PLLC attorneys for SEAN

TRUEMAN, the plaintiff in the foregoing matter, with an office located at 30 Wall

Street, 8th Floor #741, New York, NY 10005. I have read the foregoing Complaint and

know the contents thereof, and that the same is true to my own knowledge, except as to

the matters therein stated to be alleged upon information and belief, and that as to those

matters I believe them to be true.

       The reason why this verification is made by deponent instead of Plaintiff is

because Plaintiff is not within the County of New York which is the county where the

deponent has her office.

Dated: April 1, 2016
       New York, New York

                                             /s/ LeeOr Deutsch
                                             LEEOR DEUTSCH




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           Check Image Inquiry Results



                    Account #            Check #   Amount     Paid Date    Sequence #
                   1881553075               9846   $768.00   10/19/2015      975353675




      https://www8.comerica.com/portal/PA_PPISProxy/AFNEARWeb/servlet/Dis... 3/2/2016
